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                            UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

   MICHAEL WEISER                            *
   1110 South Oakhurst Drive                 *
   #204                                      *
   Los Angeles, California 90035             *
                                             *
          Plaintiff,                         *
                                             *
          v.                                 *   Civil Action No. 21-______
                                             *
   DEPARTMENT OF JUSTICE                     *
   950 Pennsylvania Avenue, N.W.             *
   Washington, D.C. 20530-0001               *
                                             *
          Defendant.                         *
                                             *
   *      *       *       *      *       *   *   *      *      *      *     *
                                           COMPLAINT

       This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq.,

   as amended, and the Privacy Act (“PA”) of 1974, 5 U.S.C. § 552a, et seq., as amended, seeking

   the production of records responsive to a request submitted by the Plaintiff to the Defendant

   Department of Justice (“DOJ”).

                                           JURISDICTION

       1. This Court has both subject matter jurisdiction over this action and personal jurisdiction

   over the Defendant pursuant to 5 U.S.C. § 552(a)(4)(B), 5 U.S.C. § 552a(g)(1)(B), and

   28 U.S.C. § 1331.

                                                VENUE

       2. Venue is appropriate under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391.
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                                                PARTIES

      3. Plaintiff Michael Weiser (“Plaintiff”) is a U.S. citizen, resident of Los Angles, California,

   and requested responsive records via FOIA and PA.

      4. Defendant DOJ is an agency within the meaning of 5 U.S.C. § 552(f) and 5 U.S.C.

   § 552a(a)(1), and is in possession and/or control of the requested records that are the subject of

   this action. DOJ controls – and consequently serves as the proper party defendant for litigation

   purposes for – the Federal Bureau of Investigation (“FBI”).

                                          COUNT ONE (FBI)

      5. By letter dated April 1, 2021, the Plaintiff, through counsel, submitted a FOIA/PA Act

   request to FBI via its online portal that listed fourteen (14) categories of information that was

   being sought.

      6. This lawsuit pertains only to categories #1 - #8.

      7. No known response has been received from the FBI other than an e-mail

   acknowledgment of receipt of the underlying FOIA request.

      8. Plaintiff has constructively exhausted all required administrative remedies with respect

   to categories #1-#8 in his FOIA/PA request.

      10. Plaintiff is entitled to receipt of non-exempt copies of all records responsive to his

   FOIA/PA request.

   WHEREFORE, Plaintiff Michael Weiser prays that this Court:

      (1) Orders the Defendant to disclose non-exempt copies of the requested records in their

   entirety and make copies promptly available to the Plaintiff;

      (2) Award reasonable costs and attorney’s fees as provided in 5 U.S.C. § 552 (a)(4)(E),

   5 U.S.C. § 552a(g)(3)B), and/or 28 U.S.C. § 2412 (d);


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      (3) expedite this action in every way pursuant to 28 U.S.C. § 1657 (a); and,

      (4) grant such other relief as the Court may deem just and proper.

   Date: May 27, 2021

                                        Respectfully submitted,

                                               /s/ Michael Weiser
                                        __________________________
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                                        1110 South Oakhurst Drive
                                        #204
                                        Los Angeles, California 90035
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                                        Pro Se Plaintiff




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